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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

PLAQUEMINES PARISH SCHOOL BOARD                             CIVIL ACTION

VERSUS                                                      NO: 06-7213

INDUSTRIAL RISK INSURERS, ET AL                             SECTION: “S” (3)


                 DEFENDANTS’ MOTION IN LIMINE TO EXCLUDE
                     PLAINTIFF’S EXPERT PAUL AMORUSO

       NOW INTO COURT, through undersigned counsel, come defendants, Industrial Risk

Insurers (“IRI”) and Westport Insurance Corporation (“Westport”), and move to exclude the

expert report and testimony of plaintiff Plaquemines Parish School Board’s expert, Paul

Amoruso, for the reasons more fully set forth in the accompanying memorandum.

                                          Respectfully submitted,

                                          JAMES RYAN III & ASSOCIATES, LLC

                                          /s/ Jeffrey A. Clayman
                                          _________________________________
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                                          -and-

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                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 3rd day of February, 2009, I electronically filed the
foregoing pleading with the Clerk of Court by using the CM/ECF system which will send a
notice of electronic filing to all counsel of record.
                                     /s/ Jeffrey A. Clayman
                                _____________________________
                                   JEFFREY A. CLAYMAN




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